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                              UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION

   JAMES RUZICKA,

                           Plaintiff,

   v.                                                      Case No: 6:18-cv-1261-Orl-31TBS

   RECEIVABLES PERFORMANCE
   MANAGEMENT, LLC,

                           Defendant.


                          ORDER OF DISMISSAL WITHOUT PREJUDICE
           Upon consideration of the Notice of Settlement (Doc. 11), it is

           ORDERED that this case is DISMISSED without prejudice pursuant to Local Rule

   3.08(b), subject to the right of any party to move the Court within sixty (60) days for the

   purpose of entering a stipulated form of final order or judgment; or, on good cause shown, to

   reopen the case for further proceedings. Any pending motions are DENIED as moot. The

   Clerk is directed to close this file.

           DONE and ORDERED in Chambers in Orlando, Florida on October 4, 2018.




   Copies furnished to:

   Counsel of Record
   Unrepresented Parties
